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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 15-cv-02507-JLK

  KYLE JEFFERY SCHWARK,

          Plaintiff,
  v.

  SHERIFF FRED WEGENER, in his official and individual
  capacities; NURSE SUSAN CANTERBURY, in her individual
  capacity; NURSE JERI SWANN, in her individual capacity;
  NURSE CATHLENE PEARCE, in her individual capacity;
  DOCTOR KATHERINE FITTING, in her individual capacity,

       Defendants.
 _____________________________________________________________________________

 DEFENDANT KATHERINE FITTING, M.D.’S EXPERT WITNESS DISCLOSURES
 ______________________________________________________________________________

        Defendant Katherine Fitting, M.D. (“Dr. Fitting”), by and through her attorneys, CHILDS

 MCCUNE LLC, hereby submits the following expert witness disclosures:

        Pursuant to the Scheduling Order approved by the Court, Dr. Fitting provides the

 following expert witness disclosures. All opinions expressed by Dr. Fitting’s experts are to a

 reasonable degree of medical and scientific probability. All endorsed experts are expected to

 testify regarding their background and qualifications as set forth in these disclosures and each

 expert’s curriculum vitae, including their education, training, and experience in the fields in

 which they are qualified and their experience concerning the issues in this case. Experts retained

 to address standard of care issues will also testify concerning their familiarity with the applicable

 standards of care. These experts will further testify consistent with their deposition testimony, if

 taken. They may also testify in rebuttal to any opinions expressed by Plaintiff’s experts.




                                                                                                  Exhibit N
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        Dr. Fitting’s experts will testify as to the foundation for their opinions, including, if any,

 pertinent and applicable medical principles and concepts, imaging technologies and modalities,

 literature, anatomy, physiology, biochemistry, and/or pharmacology. Dr. Fitting’s experts will

 further utilize entries in Plaintiff’s records and documents in offering their opinions, including

 explaining the entries based upon common medical nomenclature and practice, and discussing

 the significance of the entries and the absence of certain findings or notations. The experts may

 also rely upon the Complaint, discovery responses, and other documents, imaging, photographs

 or other information disclosed in this case in support of their opinions. Experts endorsed by Dr.

 Fitting may further be asked to provide opinion testimony based on their knowledge, education,

 training and experience, as well as their knowledge and review of applicable medical literature,

 published treatises, periodicals, facts and data made known to them, and any other facts or data

 reasonably relied upon by experts in their field in forming opinions.

        Depositions and discovery have not been completed in this case. Further material may be

 provided to the experts as it is received. The endorsed experts will be provided with additional

 materials obtained through discovery including information obtained in the depositions of

 Plaintiff’s endorsed experts that may modify existing opinions or lead to additional opinions. Dr.

 Fitting reserves her right to offer opinion testimony deemed to be relevant and admissible by the

 Court in accordance with opinions rendered during the depositions of all experts and to propose

 hypothetical questions to them at trial based upon evidence to be introduced at trial. To the

 extent permitted by the Court, Dr. Fitting reserves the right to have her retained experts review

 and revise or modify their opinions based upon the deposition testimony of witnesses not yet

 deposed and Plaintiff’s experts, as well as newly provided facts, opinions, records, and/or



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 materials. Dr. Fitting also reserves the right to supplement her experts’ opinions and disclosures

 to answer, rebut, or respond to the testimony and/or opinions of Plaintiff’s experts, including

 those opinions and statements deemed by the Court to be relevant and admissible.

        RETAINED EXPERTS

        1.      Timothy G. Moser, M.D.

        Dr. Moser’s report, setting forth a complete statement of all his opinions and the basis

 and reasons for them, the facts or data considered in forming them, and any exhibits used to

 summarize or support them, is provided herewith as Exhibit A. His qualifications are provided

 herewith as Exhibit B. A list of his testimony in the last 4 years is included in Exhibit A. A

 statement of the compensation to be paid for the study and testimony is provided herewith as

 Exhibit C.

        2.      Jonathan Ritvo, M.D.

        Dr. Ritvo’s report, setting forth a complete statement of all his opinions and the basis and

 reasons for them, the facts or data considered in forming them, and any exhibits used to

 summarize or support them, is provided herewith as Exhibit D. His qualifications including

 publications in the last ten years, are provided herewith as Exhibit E. A list of his testimony in

 the last 4 years is provided herewith as Exhibit F. A statement of the compensation to be paid

 for the study and testimony is provided herewith as Exhibit G.

        3.      All experts retained by any other defendant




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        NON-RETAINED EXPERTS


        The following experts include Dr. Fitting, the other defendants, Plaintiff’s health care

 providers, and other persons who have provided care and treatment to him, none of whom are

 specifically retained experts as defined by F.R.C.P. 26(a)(2)(B). Each treating provider may be

 called to testify regarding his or her care, treatment, diagnoses, clinical assessments, observations

 of, and prescriptions for Plaintiff, as well as all studies, tests, and procedures performed, the

 results thereof, and any opinions regarding causation and prognosis. Each may be called to

 discuss his or her professional relationship with Plaintiff as well as to relate all conversations,

 communications, correspondence, or interactions with Plaintiff, each other, or any other

 individual or entity concerning Plaintiff. Each of the following health care providers is endorsed

 to testify as to all relevant, admissible matters addressed in his or her deposition, if taken. Each

 of the following will testify regarding their qualifications corresponding with the areas of

 treatment of Plaintiff. Each is also endorsed to give opinions relating to his or her medical care to

 the extent those opinions fall within his or her area of expertise. Finally, each health care

 provider may be called to testify as to any subject matter contained in Plaintiff’s pharmacy

 records, medical records, diagnostic imaging studies, lab results, or other records. Dr. Fitting also

 endorses any and all other treating health care providers.


        1.      Katherine Fitting, M.D.
                 c/o Steven A. Michalek
                Elizabeth J.M. Howard
                Childs McCune LLC
                821 17th Street, Suite 500
                Denver, CO 80202
                303-296-7300



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        Dr. Fitting is a defendant in this case and has information and knowledge regarding the

 claims and defenses at issue. She will testify regarding all aspects of her care and treatment of

 the Plaintiff, Kyle Schwark during both of his incarcerations in November 2013 and February

 through April 2014.

        Dr. Fitting’s opinions are based on her knowledge, training, and experience as an internal

 medicine physician as well as her review of Plaintiff’s medical records, the depositions taken in

 this matter, discovery, and pleadings. Dr. Fitting’s opinions are expressed to a reasonable degree

 of medical probability and her testimony may be supplemented based upon additional

 information received. It isanticipated that Dr. Fitting will testify in accordance with her

 deposition testimony and may express additional opinions concerning all issues raised in her

 deposition.

        Dr. Fitting will testify to all relevant matters within her areas of expertise, and it is

 anticipated that her testimony may rebut, in whole or in part, the opinions of Plaintiff’s experts.

 As exhibits, Dr. Fitting may use medical and jail records, imaging, exhibits, diagrams,

 illustrations, charts, photographs, testimony excerpts, time lines, enlargements of selected

 medical records, summaries, graphs, models and/or other demonstrative evidence, and

 appropriate literature and standards during her testimony. She may also refer in her testimony to

 information she considered in Plaintiff’s medical records (received during the litigation in this

 matter), deposition transcripts of any other witnesses or experts, and documents produced by any

 party in discovery or by disclosure, including documents yet to be produced. Dr. Fitting’s

 opinions may be supplemented as necessary with additional information derived from




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 depositions and/or other discovery, or from any other information that may be available

 regarding Plaintiff.

        All of Dr. Fitting’s opinions are to a reasonable degree of probability and based on her

 knowledge, education, training, and experience as a board certified internal medicine physician.

 Dr. Fitting will testify regarding the pertinent aspects of her care and treatment of Plaintiff as it

 relates to the reasonableness of the care and treatment provided to Plaintiff. Dr. Fitting will

 testify that her care and treatment of Plaintiff was reasonable under the circumstances, was

 within the range of acceptable practices (or standard of care), and was not negligent under the

 circumstances of this case.      Dr. Fitting will also further testify that she was in no way

 deliberately indifferent to Plaintiff’s medical needs during either his November 2013 or February

 through April 2014 incarcerations and that her care and treatment was not the cause of any of

 Plaintiff’s alleged injuries, damages, or losses.

        Dr. Fitting is expected to testify consistent with her discovery responses, if any, and her

 explanations of and for the care and treatment provided to Plaintiff. Dr. Fitting is expected to

 testify that she is a board certified internal medicine physician. Dr. Fitting is expected to testify

 regarding her training and experience. She will testify regarding the demographics of her practice

 and will explain that as an internal medicine physician and as the jail physician for Park County

 Jail she deals routinely with medication management for inmates, as well as changes in

 medication and that she is familiar with the medications Suboxone, Xanax, and Librium.

        Dr. Fitting will testify generally regarding her position at the jail, and her role as the Jail

 physician for Park County Jail, including the details regarding her clinic hours and routine

 protocols for communications with jail staff during the hours she is not onsite. Dr. Fitting will



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 explain that she goes to the jail every Monday for clinic, and is otherwise on call the remaining

 days.

         Dr. Fitting will also testify generally about the inmate population at the jail, and the

 medical personnel and resources available to these inmates. Dr. Fitting will testify generally

 regarding the medications that are not provided to the inmates including, but not limited to,

 narcotics and benzodiazepines. She will further explain that anti-psychotic medications are

 prescribed by the psychiatric nurse. Dr. Fitting will testify generally regarding distribution of the

 inmate’s medications, explaining that these are distributed by the deputies. She will also explain

 the process for an inmate to request medical attention, and the fact that these requests are triaged

 by the nursing staff. Dr. Fitting will explain that she was not provided with details regarding the

 reasons Mr. Schwark was on Suboxone or Xanax, nor was she provided prior medical records,

 but that she understood Mr. Schwark was Court ordered to receive these medications.

         Dr. Fitting is expected to testify regarding her care and treatment of Plaintiff as it relates

 to the issues in this case. Dr. Fitting will testify that prior to his November 2013 incarceration

 that Plaintiff was on a number of different medications, amongst which were Suboxone and

 Alprazolam (Xanax). Dr. Fitting will testify generally regarding Plaintiff’s November 2013

 incarceration and will explain that Plaintiff arrived to the jail on November 12, 2013, and was

 provided with Suboxone and Alprazolam (Xanax) on November 13, 2013. Dr. Fitting will

 further explain that Plaintiff was also provided Suboxone and Alprazolam on the morning of

 November 14, 2013 prior to his seizure, and Librium in the afternoon. Dr. Fitting will explain

 that she was notified of Plaintiff’s seizure, that Plaintiff was brought to medical and that she

 ordered Librium, and that Mr. Schwark be taken off the Xanax and placed on an alcohol



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 withdrawal protocol given her concern at that time that he may have been actively withdrawing

 from alcohol. Dr. Fitting will describe this protocol and will explain that it involves taking

 frequent vitals, close monitoring and observation, fluid replacement, and in some cases IV fluids.

 Dr. Fitting will explain that at that time Mr. Schwark’s status appeared stable as he was talking,

 able to eat a portion of his lunch, and able to drink fluids. As such, there was no reason prior to

 his fall from the table in the medical unit to transfer Mr. Schwark for higher level care. Dr.

 Fitting will reference and rely upon the Medication Administration sheets in describing this

 testimony.

        Dr. Fitting will testify generally regarding Plaintiff’s February 2014 incarceration, and

 will explain that she ordered that Mr. Schwark not be provided Suboxone or Librium and that he

 be weaned from his Xanax to attempt to get Mr. Schwark off his chronically used Xanax. She

 will explain that this involved Mr. Schwark being provided Xanax three times per day for three

 days, twice per day for three days, and once per day for three days. She will further explain that

 Mr. Schwark did not require the withdrawal protocol because he was not actively withdrawing

 from any medications. When Mr. Schwark complained of hallucinations, he was placed back on

 1 mg per day of Xanax, and was ultimately sent to Denver Health for further evaluation.

        In summary, Dr. Fitting will testify that her care and treatment of Plaintiff was within the

 accepted range of acceptable practices, or standard of care, that she was not at any time

 deliberately indifferent to Plaintiff’s medical needs, that she exercised her reasonable medical

 judgment in caring for Mr. Schwark, and that nothing she did or did not do was the cause of Mr.

 Schwark’s injuries, damages, or losses.




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            2. Susan Canterbury, R.N.
               c/o Ashley McCall Kelliher
               Eric Michael Ziporin
               Senter Goldfarb & Rice, LLC
               3900 East Mexico Avenue, Suite 700
               Denver, CO 80210

        Susan Canterbury is a defendant in this action. She provided care and treatment to

 Plaintiff and is expected to testify regarding her care and treatment of Plaintiff. She is also

 expected to testify consistent with the medical and jail records, her recollections, her

 communications with other providers, and her deposition testimony if taken. Dr. Fitting

 incorporates by reference Ms. Canterbury’s opinions and qualifications as set forth in her expert

 witness disclosure.


            3. Jeri Swann, R.N.
               c/o Ashley McCall Kelliher
               Eric Michael Ziporin
               Senter Goldfarb & Rice, LLC
               3900 East Mexico Avenue, Suite 700
               Denver, CO 80210


        Jeri Swann is a defendant in this action. She provided care and treatment to Plaintiff and

 is expected to testify regarding her care and treatment of Plaintiff. She is also expected to testify

 consistent with the medical and jail records, her recollections, her communications with other

 providers, and her deposition testimony if taken. Dr. Fitting incorporates by reference Ms.

 Swann’s opinions and qualifications as set forth in her expert witness disclosure.


            4. Cathleen Pearce, R.N.
               c/o Ashley McCall Kelliher
               Eric Michael Ziporin
               Senter Goldfarb & Rice, LLC
               3900 East Mexico Avenue, Suite 700


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                 Denver, CO 80210

         Cathleen Pearce is a defendant in this action. She provided care and treatment to Plaintiff

  and is expected to testify regarding her care and treatment of Plaintiff. She is also expected to

  testify consistent with the medical and jail records, her recollections, her communications with

  other providers, and her deposition testimony if taken. Dr. Fitting incorporates by reference Ms.

  Pearce’s opinions and qualifications as set forth in her expert witness disclosure.


             5. Cynthia Parker, PsyD
                Adult Mental Health Services LLC
                101 West Main Street Suite 101
                Frisco, CO 80443

         Dr. Parker provides care to inmates at Park County Jail. She provided care and treatment

  to Plaintiff with respect to his medication management and is expected to testify regarding her

  care and treatment of Plaintiff. She is also expected to testify consistent with the medical and jail

  records, her recollections, her communications with other providers, and her deposition

  testimony if taken.

             6. Jonathan W. Singer, D.O.
                Health First
                8400 E. Prentice Ave., #301
                Greenwood Village, CO 80111
                303-488-0034

         Dr. Singer provided diagnosis, care, treatment, and prescription management to Plaintiff

  prior to and following his incarcerations in November 2013 and February 2014 and is expected

  to testify consistent with his medical records, and his deposition testimony.




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              7. St. Anthony’s Summit Medical Center
                 340 Peak One Dr.
                 Frisco, CO 80443
                 970-668-3300

         Plaintiff was treated by providers at St. Anthony’s Summit Medical Center on November

  14, 2013 prior to being transferred to Denver Health for further care. Representatives, agents,

  servants, employees, physicians, nurses, and other staff of St. Anthony’s Summit Medical Center

  have knowledge and information regarding the claims, defenses, and alleged damages at issue in

  this case. They are expected to testify consistent with their treatment as set forth in the medical

  records, their recollections, and their deposition testimony, if taken.


              8. Denver Health Medical Center
                 777 Bannock St.
                 Denver, CO 80204

         Plaintiff was treated by providers at Denver Health Medical Center in November 2013

  and February/March 2014 following his apparent seizure and psychosis. Representatives, agents,

  servants, employees, physicians, nurses, and other staff of Denver Health Medical Center have

  knowledge and information regarding the claims, defenses, and alleged damages at issue in this

  case. They are expected to testify consistent with their treatment as set forth in the medical

  records, their recollections, and their deposition testimony, if taken. These providers include, but

  are not limited to, the following individuals:


         a.   Venkata Manchala, M.D.
         b.   Michael Susalla, M.D.
         c.   Benjamin Metelits, M.D.
         d.   J. Craig Holland, M.D.
         e.   Robert House, M.D.
         f.   Katherine Hurlbut, M.D.
         g.   Thida Thant, M.D.


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         h. Taub, M.D.
         i. Fried Herbert, M.D.
         j. Kevin McVaney, M.D.

               9. City Market Pharmacy
                  400 N. Parkway
                  Breckenridge, CO 80424
                  970-547-9343

         Plaintiff received prescription medications from City Market Pharmacy. Representatives,

  agents, servants, employees, physicians, nurses, pharmacists and other staff of City Market

  Pharmacy have knowledge and information regarding the claims, defenses, and alleged damages

  at issue in this case. They are expected to testify consistent with their records, their recollections,

  and their deposition testimony, if taken. As of the drafting of these disclosures, defense counsel

  have requested, but have not received these records and reserve the right to supplement this

  disclosure based on those records.

         10.      Vail Summit Orthopaedics, P.C.
                  2472 Patterson Road, Unit 8
                  Grand Junction, CO 81505-1100
                  866-358-0202

         Plaintiff was treated by providers at Vail Summit Orthopaedics related to his cervical

  fracture. Representatives, agents, servants, employees, physicians, nurses, and other staff of Vail

  Summit Orthopaedics have knowledge and information regarding the claims, defenses, and

  alleged damages at issue in this case. They are expected to testify consistent with their treatment

  as set forth in the medical records, their recollections, and their deposition testimony, if taken.

         11.      Mountain Family Center
                  (address unknown)




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          Upon information and belief, Plaintiff was treated by providers at Mountain Family

  Center. Representatives, agents, servants, employees, physicians, nurses, and other staff of

  Mountain Family Center have knowledge and information regarding the claims, defenses, and

  alleged damages at issue in this case. They are expected to testify consistent with their treatment

  as set forth in the medical records, their recollections, and their deposition testimony, if taken. As

  of the drafting of these disclosures, defense counsel have requested, but have not received these

  records and reserve the right to supplement this disclosure based on those records.

          12.    Summit County Ambulance
                 P.O. Box 4910
                 Frisco, Colorado 80443

          Plaintiff was provided hospital transport via Summit County Ambulance in November

  2013.    As such, Summit County Ambulance personnel have knowledge and information

  regarding the claims, defenses, and alleged damages at issue in this case. They are expected to

  testify consistent with their treatment as set forth in the medical records, their recollections, and

  their deposition testimony, if taken.

          13.    Family Integration Counseling
                 (address unknown)

          Upon information and belief, Plaintiff was treated by providers at Family Integration

  Counseling. Representatives, agents, servants, employees, physicians, nurses, and other staff of

  Family Integration Counseling have knowledge and information regarding the claims, defenses,

  and alleged damages at issue in this case. They are expected to testify consistent with their

  treatment as set forth in the medical records, their recollections, and their deposition testimony, if

  taken. As of the drafting of these disclosures, defense counsel have requested, but have not

  received these records and reserve the right to supplement this disclosure based on those records.


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         14.       CPHG High County Healthcare P.C.
                   (address unknown)

         Upon information and belief, Plaintiff was treated by providers at CPHG High County

  Healthcare P.C. Representatives, agents, servants, employees, physicians, nurses, and other staff

  of CPHG High County Healthcare P.C. have knowledge and information regarding the claims,

  defenses, and alleged damages at issue in this case. They are expected to testify consistent with

  their treatment as set forth in the medical records, their recollections, and their deposition

  testimony, if taken. As of the drafting of these disclosures, defense counsel have requested, but

  have not received these records and reserve the right to supplement this disclosure based on

  those records.

         15.       Any expert endorsed by any other party.

        16.    Any other health care providers of Plaintiff not listed above to testify
  regarding their care and treatment and any other relevant issue raised in Plaintiff’s
  Complaint or the relevant medical records of Plaintiff.

         17.       Any expert necessary for impeachment and/or rebuttal.

         18.    Dr. Fitting reserves the right to supplement the opinions of her experts
  and/or retain or identify additional expert witnesses as the need may arise based on further
  discovery or to rebut the opinions of the Plaintiff’s experts.




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         DATED: September 23, 2016.

                                                        /s/ Steven A. Michalek
                                                        Steven A. Michalek
                                                        Elizabeth J.M. Howard
                                                        Childs McCune LLC
                                                        821 17th Street, Suite 500
                                                        Denver, CO 80202
                                                        Telephone: (303) 296-7300
                                                        FAX: (720) 625-3637
                                                        Email: smichalek@childsmccune.com
                                                        Email: ehoward@childsmccune.com
                                                        Attorney for Defendant Dr. Fitting



                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 23, 2016, a true and correct copy of
  the foregoing DEFENDANT KATHERINE FITTING, M.D.’S EXPERT WITNESS
  DISCLOSURES was served electronically via electronic mail upon the following:

  David A. Lane                                          Ashley McCall Kelliher
  Julian Wolfson                                         Eric Michael Ziporin
  Killmer, Lane & Newman, LLP                            Senter Goldfarb & Rice, LLC
  1543 Champa St., Ste. 400                              3900 East Mexico Avenue, Suite 700
  Denver, CO 80202                                       Denver, CO 80210
  Email: dlane@kln-law.com                               Email: akelliher@sgrllc.com
  Email: JWolfson@kln-law.com                            Email: eziporin@sgrllc.com


                                                            s/ Mary Baltz

         This document will be maintained in accordance with C.R.C.P. 121 § 1-26(7).




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